Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 1 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 2 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 3 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 4 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 5 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 6 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 7 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 8 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 9 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 10 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 11 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 12 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 13 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 14 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 15 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 16 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 17 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 18 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 19 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 20 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 21 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 22 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 23 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 24 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 25 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 26 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 27 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 28 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 29 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 30 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 31 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 32 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 33 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 34 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 35 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 36 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 37 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 38 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 39 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 40 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 41 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 42 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 43 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 44 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 45 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 46 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 47 of 48
Case 1:15-cv-02859-SHS Document 127 Filed 12/07/16 Page 48 of 48




breach of the implied covenant of good faith and fair dealin& they should
do so within 21 days of this order. If plaintiffs do not intend to attempt to
replead those allegations, they should notify the Court in writing in order
for the Court to establish a schedule for the remainder of the litigation.

Dated: New York, New York
       December 7, 2016
                                           SO ORDERED:




                                              Sidn~   H. Stein, U.S.D.J.




                                      48
